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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

                                       MINUTES
UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )       CASE No:      1:18-CR-99
                                          )       DATE:         September 13, 2018
v.                                        )       TIME:         3:01 p.m. – 3:54 p.m.
                                          )       PLACE:        Grand Rapids
MARK ANDREW MCMICHAEL,                    )       JUDGE:        Robert J. Jonker
                                          )
       Defendant.                         )

                       _______________________________________


                                   APPEARANCES
GOVERNMENT:          Nils R. Kessler
                     Laura Babinsky

DEFENDANT:           Steven W. Dulan

                                       WITNESSES
GOVERNMENT:          N/A

DEFENDANT:           N/A

                                   PROCEEDINGS
NATURE OF HEARING:

Oral argument on Defendant’s First Motion to Dismiss. (ECF No. 18). Order to issue.


COURT REPORTER:          Glenda Trexler                    /s/ James Schmidt
                                                              Law Clerk
